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 UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA
                  JACKSONVILLE DIVISION
JAWANDA DOVE,
      Plaintiff,                             Case No.: 3:20-cv-547-J-34MCR
v.
FLAGLER COUNTY SCHOOL BOARD,
      Defendant.
____________________________________/

                     AGREED NOTICE OF MEDIATION

     YOU ARE HEREBY NOTIFIED that the parties have Agreed to set
Mediation in this matter as follows:


            DATE:              Thursday, January 19, 2023
            TIME:              2:00 p.m.
            MEDIATOR:          Kim Sands
            LOCATION:          Flagler Schools District Offices
                               1769 E. Moody Blvd.
                               Bldg. #2
                               Bunnell, FL 32110

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 18th day of January, 2023, a true and

correct copy of the foregoing, Agreed Notice of Mediation, was electronically filed

with the Clerk of the Court by using the CM/ECF system, which will send a notice

of filing via electronic mail to: Blair Jackson, Esq., DSK Law, 609 West Horatio

Street, Tampa, Florida 33606, bjackson@dsklawgroup.com.


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                                         s/ Richard B. Bush, Esq.
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